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                                             UNITED STATES OF AMERICA
                                           Federal Trade Commission
                                                 HEADQUARTERS (HQ)




         Patrick Roy
Bureau of Consumer Protection
   Phone: (202) 326-3477
    Email: proy@ftc.gov



                                                                        March 11, 2020

The Hon. Andrew M. Edison, U.S. Magistrate Judge
United States Courthouse
601 Rosenberg Avenue, Seventh Floor
Galveston, TX 77550

RE:        FTC v. iBackPack of Texas, LLC, No. 3:19-cv-00160

Dear Judge Edison:

       In an effort to avoid potential confusion, the Federal Trade Commission (“FTC”)
writes to set forth its understanding of its filing deadline with respect to its Motion for
Summary Judgment against defendant Douglas Monahan (Dkt. 35).

        Earlier today, the FTC received by ECF defendant Monahan’s Opposition to
Summary Judgment (Dkt. 41), which Monahan presumably mailed to the Clerk on
March 6. (Monahan, who is appearing pro se, files his submissions by mail.) The
Certificate of Service for Monahan’s opposition states that it was served by e-mail and
first-class mail on March 3, but this statement is not correct: the FTC had not been sent
the opposition papers before today’s ECF. 1

       As such, the FTC understands the deadline for its reply to the opposition to be
Wednesday, March 18. See Court Procedures § 6.C.4 (“Movant may file a reply within
seven calendar days after the non-movant’s response.”). The FTC writes in hopes of
preventing the misimpression that it failed to timely reply to an opposition.

       In addition, it is the FTC’s understanding that defendant Monahan may have
mailed additional motions to the Clerk; we understand the gist of these motions to be that
Monahan would like to file a different opposition brief at some future date. 2 Based on
the information currently available to it, the FTC expects that it would oppose such relief.


1
 As of this writing, Mr. Monahan has declined to send a copy of his opposition to the FTC, despite
multiple communications from the FTC on this point. (See attached.)
2
    Monahan did not confer with the FTC before mailing these motions to the Clerk’s Office.

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                                            Respectfully,

                                            /s/ Patrick Roy, Counsel for Plaintiff

cc:    Douglas Monahan




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               Attachment
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Hanks, Daniel

From:                             Hanks, Daniel
Sent:                             Monday, March 9, 2020 1:27 PM
To:                               'douglas.monahan@ibackpack.net'
Cc:                               Roy, Patrick
Subject:                          RE: Box You Are Receiving Today Has Wrong Intro Letter - Real One is being Sent via
                                  Couiier Today



Mr. Monahan,

Although we have received several other communications from you today, we still have not received the
opposition that you state you sent to the Court on Friday. As you are aware, you are obligated to serve the FTC
with papers that you submit to the Court, and you agreed to send these papers to the FTC by secure file
transfer. Those papers should have been sent to the FTC on Friday, at the same time as they were sent to the
Court.

Please immediately use one of the secure file transfer links that we have provided to send us the materials sent
to the Court (the opposition and any attachments or exhibits).

Kind regards,

Daniel O. Hanks
Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, DC 20580
(202) 326‐2472



From: Hanks, Daniel
Sent: Monday, March 9, 2020 11:07 AM
To: 'douglas.monahan@ibackpack.net' <douglas.monahan@ibackpack.net>
Cc: Roy, Patrick <proy@ftc.gov>
Subject: RE: Box You Are Receiving Today Has Wrong Intro Letter ‐ Real One is being Sent via Couiier Today

Mr. Monahan,

As you are aware, the Federal Rules of Civil Procedure require that you serve the FTC with any filings or other
matters that you submit to the court. You have agreed to serve the FTC with your opposition to summary
judgment, and any attachments or exhibits to that opposition, by secure file transfer, and the FTC has provided
you with secure file transfer links for that purpose, including a link sent on Friday afternoon.

The below e-mail states that you have submitted to the Court your opposition and exhibits on Friday; however,
we have not received a secure file transfer link with these papers. In addition, the below e-mail references
another submission to the court that is being sent today.

We are sending new secure file transfer links today. We expect that you will promptly use these links today to
send the FTC the papers that were sent to the Court on Friday and any papers that are sent to the Court today.

                                                           1
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Kind regards,

Daniel O. Hanks
Federal Trade Commission
600 Pennsylvania Avenue NW
Washington, DC 20580
(202) 326‐2472



From: douglas.monahan@ibackpack.net <douglas.monahan@ibackpack.net>
Sent: Monday, March 9, 2020 9:39 AM
To: william_bostic@txs.uscourts.gov
Cc: Hanks, Daniel <dhanks@ftc.gov>
Subject: Box You Are Receiving Today Has Wrong Intro Letter ‐ Real One is being Sent via Couiier Today

Mr. Bostwick:

I am the defendant in the FTC vs. iBackPack CASE NO. 3:19‐cv‐0060. My response was sent via US Mail on Friday. It
contains all of my supporting documents; however a DRAFT of the introduction was included by mistake. The real 25
page Letter is being sent via courier today.

I live in Friendswood, about thirty miles north of Galveston, so a box mailed on Friday should arrive in your offices today.
It is a normal USPS box. My phone is 512.281.6533. Judge Edison is on the case. I am representing myself pro se.

The document you will receive today is 25 pages whereas the draft was only 11.

Thank you, Doug Monahan




                                                             2
